               Case 3:12-mj-02574-DEA                                  Document 56                      Filed 09/11/12                    Page 1 of 1 PageID: 147

    ‘CJA 20 APPOINIMFNT OF AND AUtHORITy TO PAY COURT APPOINTED COUNSEL tRe. 5 QQ)
  I. CIR DIST. DIV. CODE      2 PERSON REPRESENTED                                                                                   VOUCHER NUMBER
                                                S FEPIIANIF I IMA
 3. MAG DkT DEt NUMBER                                4. DIST DKI DEE. NLMBtR                            5. APPEALS DRI DEE NL MITER                       6. OIHFRDKF. NUMBER
               12-2574-iDE.\,
       IN CASE MM [FR OF f(I%e \aI&)      jPAYMENT C\IEGORY                                9/cPE PERSON REPRESEN FED              là REPRESENTAtION tYPE
                                             FeIon                      Petty Offense         Adult Defendant        Z Appellant      (“ !nsIrudIoflV
             L SA V. (iIORGIANNI. et al.,    STisdemeanor               Other                 JueniIe Defendant      E &ppellee      CU
                                             Appeal                                           Other
  I      OFFENSES CHARGED Cite F S Lode title & Section) ii Inur tIkJ!1 Ek o1Ici,
                                                                                   I1 (U!’ IoJtlej mar ( Ifns churgid, arJing t ‘Lvrnv of i1enc
        2 1 846 CONSPIRACY FO DIS I RIBUTE CON ROLLED SUBSTANCU
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 I Al TORNE S NAME ‘1 ii’ \am. 11 1 .t ai \u’n. z,, /iJ,ne my uf’rx.                                   I,CQLRT ORDER
   AND MAlI INC ADDRESS
                                                                                                       (jAppointing Counsel                                  C Co-Counsel
                                                                                                         F Subs For Federal Defender                         R Subs For Retained Attorney
                     Joshua Markoitz, Esq.                                                               P Subs For Panel Attorney                           Y Standby Counsel
                     3 I 3 1 Princeton Pike. Bldg 3D
                     La rence ille. NJ 08648                                                           Pnor Attorne ‘s Name
                                                                                                           Appointment Dates
                                                                                                        E$ecause the aboe-named person represented has testified under oath or has otherse
      Telephone Number     .

                                                       609-896-2660                                    satisfied tBs Court that he or she I ) is 0najiciaIl unable to employ counsel and ( 2 ) does not
                                                                                                       vosh to sai’.e counsel, and because the interests of justice so require, the attome sshose
 1 NAME AND MAIL END ADDRESS OF LAW FiRM “UnIT provide per ins(r7,tcrions)                             name appears in item 12 is appoiifled to represent this person in this case. OR
                                                                                                        SOther ISee Jnstrjctioc)


                                                                                                                       Signature oFPresidi    Judicial Officer or By Order of the Court

                                                                                                                       9n-

                                                                                                                      Date of Order                                Nunc Pro Tune Date
                                                                                                       Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                       appointment,         U YES         NO
                               CLAIM FOR SERVICES AND EXPENSES
                                                                                                                                                 FOR COURT USE ONLY
                                                                                                                 TOTAL               MATH/tECH              MATELTECH.
         CATEGORIES (Attach aemizarion of services with dates)                           HOURS                                                                                       ADDITIONAL
                                                                                       cI.AIME                  AMOUNT               ADJUS F ED              ADJtJSTED
                                                                                                                CLAIMED                HOURS                 AMOUNT
 15.     a. Arraignment and or Plea
         b. Bail and Detention Hearings
         c. Motion Hearings
         d. Trial
         e. Sentencing Hearings
         F Revocation Hearings                                                                             ,,




         g Appeals Court
         h. Other ‘fpecitr api additional .sheeisi
         (RATE PER HOUR = S                                 ) TOTALS:
16       a Interview and Conferences
         b. Obtaining and reviewing records
         c. I egal research and brief writing
         d. Trasel time
         e. Ins estigative and other work (Spec ifv on additional sheets,)
         (RATE PER HOUR = S                                 t   TOTALS:
l.       Travel Expenses flodetng. parking. meaLs, tnt/cage. cc
18.      Other Expenses ia/icr than expert transcripts’ etc                                      ,,,




GRAND TOTALS (CLAIMED AND ADJUSTEO)
19 CERTIFICATION OF ATTORNEY PAYEE FOR tHE PERIOD OF SERVICE                                             20, APPOINTMENT TERMINATION DATE                            21   CASE DISPOSITION
                                                                                                             IF OTHER THAN CASE COMPLETION
                                                        TO:
22 CLAIM STATUS                     U Final Pament                 U Interim Pay nient Number                                      U Supplemental Payment
       llaxe son previously applied to the court for compensation and or reimbursement for this      U YES       U NO          If yes, were you paid’?   U YES        U NO
       Other than from the Court, have y on, or to your knowledge has any one else, received payment /compensation or
                                                                                                                      anrrhmg of ia/nc) from any other source in connection with this
       representation’ U YE S         U NO             if yes gise details on additional sheets
       I swear or affirm the truth or correctness of the above statements.
       Signature of Aitomes
                                                                                                                                             Date
                 \                 ,
                                                          AROVED VOR PAYMEN cgVRT tE ONLY,.
23. IN COURT COMP                       23. OUT OF COURT COMP.               25. TRAVEL EXPENSES                26, OTHER EXPENSES                       2. TOtAL AMF. APPR. CERT.

28, SIGNATURE Of THE PRESIDING JUDICIAL OFFICER                                                                 DATE                                    28a, JUDGE MAG JUDGE CODE

29 IN COURT COMP                        30. OUT OF COURT COMP                31   TRAVEL EXPENSES               32 OTHER EXPENSES                       33. ‘tOTAL AMT. APPROVED

34 SIGNATURE OF CHIEF JUDGE, CDL RT OF APPEALS (OR DELEGA EL) Payment approved
                                                                                                                DATE                                    34a JUDGE CODE
   in excess’ of the slatmori threshold amount.
